            Case 1:22-cr-00057-RGE-HCA Document 26 Filed 12/29/22 Page 1 of 3


                                  UNITED STATES DISTRICT COURT
                                                  FOR THE
                                    SOUTHERN DISTRICT OF IOWA
                             Report on Defendant Under Pretrial Supervision

Name of Defendant: Ernest Ray Roberts Jr.                        Case Number: 1:22-cr-00057-001

Name of Judicial Officer:      Helen C. Adams, Chief U.S. Magistrate Judge

Charge:             Title 18 U.S.C. § 2252 (b)(2) – Possession of Child Pornography

Placed on Bond:     November 14, 2022

Type of Bond:       Personal Recognizance

Trial Date:         March 6, 2023

Assistant U. S.
Attorney:           Shelly M. Sudmann            Defense Attorney: Michael F. Maloney

                                       PETITIONING THE COURT

          The defendant has not complied with the following condition of Pretrial supervision:


Violation                                            Nature of Noncompliance

1. Failure to abide by Location Monitoring           a. On December 25, 2022, the defendant left his house
  program rules                                         during an unauthorized time, and he did not request
                                                        permission from the probation officer prior to
                                                        leaving.

                                                     b. The defendant expressed that there were too many
                                                        people in his residence for the holiday, and he chose
                                                        to leave early for work. He was scheduled later in
                                                        the day for work, and it was verified that he did go
                                                        directly to his place of employment.

U. S. Probation Officer Action:
This officer verbally reprimanded the defendant for leaving the residence without permission. The defendant,
and this officer, identified other ways he could have addressed his anxiety and remain in compliance with his
conditions of release. In addition, he was encouraged to complete his mental health assessment with Great Plains
Counseling within the next week.
               Case 1:22-cr-00057-RGE-HCA Document 26 Filed 12/29/22 Page 2 of 3
U.S v. Ernest Ray Roberts, Jr. (1:22-cr-00057-001)                                   Information Only - December 29, 2022



  Background Information:
  The defendant and this officer have discussed the importance of providing accurate information on his schedules
  while involved in the location monitoring program. The defendant was previously reminded to abide by his
  location monitoring conditions. Specifically, he was advised to follow his approved schedule and not make any
  unauthorized stops. This is the defendant’s first violation while on pretrial supervision.




                                                          Respectfully submitted,

                                                     By

                                                          Jennifer Reynolds
                                                          U.S. Probation Officer
                                                          Date: December 28, 2022




                    The Probation Office recommends that no further action be taken at this time.




                                                                                                             Page 2 of 3
               Case 1:22-cr-00057-RGE-HCA Document 26 Filed 12/29/22 Page 3 of 3
U.S v. Ernest Ray Roberts, Jr. (1:22-cr-00057-001)                                        Information Only - December 29, 2022




  The United States Attorney’s Office:

     ☐     Does not object to the proposed action.

     ☐     Objects but does not request a formal hearing be set.

     ☐     Objects and will petition the Court requesting that a formal hearing be set.



                     Shelly Sudmann
   AUSA:                                                     Signature:




     ☐     No further action is needed

     ☐     Submit a request for modification of the condition or term of supervision.

     ☐     Submit a request for warrant or summons.

     ☐      Other:




                                                                              Signature of Judicial Officer



                                                                                             Date




                                                                                                                  Page 3 of 3
